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              9      Attorneys for Plaintiffs
                     WHATSAPP INC. and FACEBOOK, INC.
            10
            11                                     UNITED STATES DISTRICT COURT

            12                                 NORTHERN DISTRICT OF CALIFORNIA

            13
            14       WHATSAPP INC., a Delaware corporation,        Case No. 3:19-cv-07123-JSC
                     and FACEBOOK, INC., a Delaware
            15       corporation,                                  DECLARATION OF EITAN NEWMAN IN
                                                                   SUPPORT OF PLAINTIFFS’ APPLICATION
            16                                                     FOR ENTRY OF DEFAULT
                                     Plaintiffs,
            17                                                     Hon. Jacqueline S. Corley
                           v.
            18
                     NSO GROUP TECHNOLOGIES LIMITED
            19       and Q CYBER TECHNOLOGIES LIMITED,

            20                       Defendants.

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  COOLEY LLP
ATTO RNEY S AT LAW                                             1                           NEWMAN DECLARATION
 SAN FRA NCI S CO                                                                      CASE NO. 3:19-CV-07123-JSC
                          Case 4:19-cv-07123-PJH Document 20-1 Filed 02/27/20 Page 2 of 3



              1             I, Eitan Newman, declare:

              2             1.      The information in this declaration is based on my personal knowledge of this matter.

              3      If called as a witness, I could competently testify to the truth of each statement.

              4             2.      I am over the age of 18 and not a party to this action.

              5             3.      I was engaged by Aaron Lukken, Esq. of Viking Advocates, LLC on behalf of

              6      Plaintiffs WhatsApp Inc. and Facebook, Inc., himself instructed by Plaintiffs’ counsel of Cooley

              7      LLP, to accomplish personal service on Defendants NSO Group Technologies Ltd. and Q Cyber

              8      Technologies Ltd. in accordance with applicable provisions of the Hague Service Convention.

              9             4.      At Mr. Lukken’s request, I was appointed by the Central Authority in Israel (The

            10       Administration of Courts) under Article 5(b) of the Hague Convention to accomplish personal

            11       service on Defendants NSO Group Technologies Ltd. and Q Cyber Technologies Ltd.

            12              5.      On December 17, 2019, at approximately 1:00 p.m. local time, I personally served the

            13       following documents on Defendants NSO Group Technologies Ltd. and Q Cyber Technologies Ltd.

            14       at their shared office at 22 Galgalei Haplada, Hertsliya, Israel 4672222:

            15                  Hague Service Convention Notice

            16                  Summary of the Documents to Be Served

            17                  Summons in a Civil Action (ECF No. 10)

            18                  Complaint with Exhibits 1–11 (ECF Nos. 1, 1-1 through 1-11)

            19                  Civil Cover Sheet

            20                  Standing Order for All Judges of the Northern District of California (“Contents of Joint

            21                   Case Management Statement”)

            22                  Standing Order for Magistrate Judge Corley

            23              6.      These materials were personally signed for by Ms. Nofar at the front desk.

            24              7.      Attached as Exhibit 1 is a true and correct copy of the certificates of delivery.

            25       showing that service was accomplished as described above. I submitted these documents to the

            26       Central Authority on December 18, 2019. These documents mirror what I have submitted to the

            27       Central Authority after accomplishing service in previous cases.

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ATTO RNEY S AT LAW                                                     2                              NEWMAN DECLARATION
 SAN FRA NCI S CO                                                                                 CASE NO. 3:19-CV-07123-JSC
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              1             8.      I have effected personal service in accordance with the Hague Convention in Israel

              2      more than a dozen times in the last several years at the direction of Aaron Lukken.

              3             9.       In each of those previous cases, the Central Authority issued a formal certificate of

              4      Hague service, usually within four to six weeks of my submission of documentation showing that I

              5      successfully accomplished service.

              6             10.     In this case, the Central Authority has not issued the formal Certificates of Hague

              7      service. I have contacted the Central Authority several times to inquire about the status of the

              8      Certificate, but the Central Authority has not indicated when it will issue the certificate.

              9
            10              I declare under penalty of perjury under the laws of the United States that the foregoing is

            11       true and correct. Executed at Tel-Aviv, on the 25 of February, 2020.

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                                                                                                        Eitan Newman
            14                                                      Eitan Newman

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 SAN FRA NCI S CO                                                                                 CASE NO. 3:19-CV-07123-JSC
